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WESTERN DISTRICT OF TENNESSEE WESTERN DIVISION

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UNITED STATES DISTRICT COURT FOR THE H" -- '~ '
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W.o. oF TN, Ma'v'.PHlé

Plaintiff,

V.

NO. 04-2428 BV

CARTY &, COMPANY, INC.,

Defendant.

 

REVISED ‘f'P'RGPGS-E-D-]-SCHEDULING ORDER

 

Pursuant to Written notice, a scheduling conference was held on April 21, 2005.
Present Were Scott A. Kramer, counsel for Plaintiff, and Jerrod B. Smith, counsel for
Defendant. At the conference, the following dates were established as the final dates for:

1.

INITIAL DISCLOSURE PURSUANT to Fed. R.Civ.P. 26(a)(1):

April ], 2005, which the parties have completed.

2. JOINING PARTIES: May 15, 2005

3. AMENDING PLEADINGS: May 25, 2005

4. INITIAL MOTIONS TO DISMISS: June 15, 2005

5. COMPLETING ALL DISCOVERY: October 31, 2005

(a) DOCUMENT PRODUCTION: October 31, 2005

(b) DEPOSITIONS, INTERROGATORIES AND REQUEST FOR
ADMISSIONS: October 31, 2005

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: August 3 l , 2005

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: September 30, 2005

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(3) EXPERT WITNESS DEPOSITIONS: October 31, 2005
6. FILING DISPOSITIVE MOTIONS: November 30, 2005
7. OTHER RELEVANT MATTERS: No deposition may be

scheduled to occur after the discovery cutoff date. All motions, requests for
admissions, or other filings that require a response must be filed sufficiently in advance
of the discovery cutoff date to enable opposing counsel to respond by the time
permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline
or Within 30 days of the default or the service of the response, answer, or objection,
which is the subject of the motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for good cause shown, or
the objection to the default, response, answer, or objection shall be waived

This case is set for non-jury trial, and the trial is expected to last 2 days. This
pretrial order date, pretrial conference date, and trial date will be set by the presiding
judge.

This case is appropriate for ADR. The parties directed to engage in court-
annexed attorney mediation or private mediation after the close of discovery

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions,
except motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a
proposed order.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of court. If` a party believes
that a reply is necessary, it shall file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required.

The parties have not consented to trial before the magistrate judge.
This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this order will not be

modified or extended.

IT IS SO ORDERED.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CV-02428 was distributed by faX, rnail, or direct printing on
Apri125, 2005 to the parties listed.

 

Bruce S. Kramer
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

l\/lemphis7 TN 38103

.lerrod Benjamin Smith

TATE LAZARINI & BEALL, PLC
One Commerce Square

Ste. 2500

l\/lemphis7 TN 38103

Quitman Robins Ledyard
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

l\/lemphis7 TN 38103

Scott A. Kramer
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

l\/lemphis7 TN 38103

Shepherd D. Tate

TATE LAZARINI & BEALL, PLC
One Commerce Square

Ste. 2500

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

